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                                      9   COMPANY OF PITTSBURGH, PA
                                     10
                                                          UNITED STATES DISTRICT COURT
                                     11          CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION
Gordon Rees Scully Mansukhani, LLP




                                     12   WESTERN RIVERSIDE COUNCIL                    Case No. 5:20-cv-02164- GW (KKx)
                                          OF GOVERNMENTS, a California
                                     13
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                                          Joint Powers Authority; CITY OF              DEFENDANT’S RESPONSE TO
                                          BEAUMONT, a public entity in the
         Irvine, CA 92614




                                     14   State of California,                         PLAINTIFFS’ REQUEST FOR
                                                                                       EVIDENTIARY RULING ON
                                     15                  Plaintiffs,                   SPECIFIED OBJECTIONS TO
                                     16         v.                                     THE DEPOSITION OF ROGER
                                                                                       BERG
                                     17   NATIONAL UNION FIRE                          (DKT. 54-12)
                                          INSURANCE COMPANY OF
                                     18   PITTSBURGH, PA, and DOES 1
                                          through 50, inclusive,
                                     19                                                Judge:    Hon. George H. Wu
                                                         Defendants.                   Date:     8/1/2022
                                     20                                                Time:     8:30 a.m.
                                                                                       Room:     9D
                                     21
                                     22
                                     23          Defendant, NATIONAL UNION FIRE INSURANCE COMPANY OF
                                     24   PITTSBURGH, PA (“National Union”), hereby submits the following responses
                                     25   to Plaintiffs’ evidentiary objections to the Deposition of Roger Berg filed in
                                     26   support of National Union’s Motion for Summary Judgment:
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                                           DEFENDANT’S RESPONSE TO PLAINTIFFS’ REQUEST FOR EVIDENTIARY RULING
                                            ON SPECIFIED OBJECTIONS TO THE DEPOSITION OF ROGER BERG (DKT. 54-12)
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                                      1         Plaintiffs assert a series of repetitive evidentiary objections. Because of the
                                      2   repetitive nature of the objections, National Union will provide a single set of
                                      3   responses – which applies to all of Plaintiffs’ objections:
                                      4         Objection No. 1: Lack of Personal Knowledge/Foundation (FRE 602,
                                      5         901):
                                      6          Response:     The    witness      testified    to   personal   discussions,
                                      7          recommendations, understandings, publications and observations
                                      8          based upon percipient knowledge. The witness testified he was a
                                      9          member of the city council and in that capacity, worked directly with
                                     10          Urban    Logic      Consultants     and       personally   observed   their
                                     11          recommendations. That explanation provides proper foundation for
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                                     12          the deponent’s testimony. Barthelemy v. Air Lines Pilots Ass'n, 897
                                     13          F.2d 999, 1018 (9th Cir. 1990) (“[Witness's] personal knowledge and
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                                     14          competence to testify are reasonably inferred from their positions and
                                     15          the nature of their participation in the matters”).
                                     16         Objection No. 2: Speculative Lay Testimony (FRE 701):
                                     17          Response:     The    witness      testified    to   personal   discussions,
                                     18          recommendations, understandings, publications and observations
                                     19          based upon percipient knowledge – as confirmed in his deposition.
                                     20          That explanation provides proper foundation for the witness’s
                                     21          testimony. None of the testimony is speculative, but instead is based
                                     22          upon percipient knowledge. Barthelemy, 897 F.2d at 1018.
                                     23         Objection No. 3: Improper Opinion Testimony (FRE 701-703):
                                     24          Response: The witness did not offer any opinions, but instead testified
                                     25          to percipient facts, communications, understandings, observations and
                                     26          publications within his personal knowledge and based upon personal
                                     27          perceptions. Such percipient testimony is not opinion testimony.
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                                          DEFENDANT’S RESPONSE TO PLAINTIFFS’ REQUEST FOR EVIDENTIARY RULING
                                           ON SPECIFIED OBJECTIONS TO THE DEPOSITION OF ROGER BERG (DKT. 54-12)
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                                      1        Moreover, a witness may offer an opinion. FRE Rule 701 “allows a
                                      2        lay witness to offer opinions that are rationally based on the witness’s
                                      3        perception.” Fed. R. Evid. 803(22); See U.S. v. Freeman, 498 F.3d
                                      4        893, 904-905 (9th Cir. 2007) (holding that the officer could testify
                                      5        based on his personal knowledge of the investigation even though he
                                      6        had not directly participated in the conversations at issue).
                                      7        Objection No. 4: Constitutes a Legal Conclusion (FRE 704):
                                      8        Response: The witness does not offer any opinions about the law, but
                                      9        instead testifies about personal communications, communications,
                                     10        understandings, observations and publications.
                                     11        Objection No. 5: Leading Question (FRE 611):
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                                     12        Response: Plaintiffs failed to object to these questions during the
                                     13        deposition and therefore waived any form objections. Fed. R. Civ. P.
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                                     14        32(d)(3)(B).
                                     15        Objection No. 6: Irrelevant (FRE 401-402):
                                     16        Response: The witness’s testimony involves observations about the
                                     17        conduct of Mr. Egger, Mr. Dillon, Mr. Moojani (“Former Officials”)
                                     18        and Urban Logic Consultants (“ULC”), and communications to/with
                                     19        the members of the Beaumont City Council about their conduct. The
                                     20        knowledge of the Beaumont City Council and approval of ULC’s
                                     21        allegedly fraudulent invoices is relevant to Plaintiffs’ ability to prove
                                     22        a covered loss and National Union’s discovery and termination of
                                     23        coverage defenses for the reasons set forth in National Union’s motion
                                     24        for summary judgment.
                                     25        Objection No. 7: Hearsay (FRE 805, 801-802):
                                     26        Response: The witness’s testimony about the conduct of Former
                                     27        Officials, knowledge of that conduct and communications to/with the
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                                          DEFENDANT’S RESPONSE TO PLAINTIFFS’ REQUEST FOR EVIDENTIARY RULING
                                           ON SPECIFIED OBJECTIONS TO THE DEPOSITION OF ROGER BERG (DKT. 54-12)
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                                      1        Beaumont City Council was not offered for the truth of the matter
                                      2        asserted, but instead for purposes of establishing notice of and
                                      3        knowledge of the Beaumont City Council and/or Beaumont’s Risk
                                      4        Manager. Because the communications were offered for purposes of
                                      5        establishing knowledge and notice, the statements are not hearsay.
                                      6        Objection No. 8: Requirement of the Original (FRE 1002):
                                      7        Response: The witness testified to admissible evidence. Because the
                                      8        facts underlying this piece of evidence are admissible, Hughes v. U.S.,
                                      9        953 F.2d 531, 543 (9th Cir. 1992), the best evidence rule does not
                                     10        preclude admission of these facts for purposes of summary judgment.
                                     11        S.S. by & through Stern v. Peloton Interactive, Inc., 566 F. Supp. 3d
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                                     12        1019, 1046 (S.D. Cal. 2021). The rule “is not applicable when a
                                     13        witness testifies from [p]ersonal knowledge of the matter, even though
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                                     14        the same information is contained in a writing.’” Vyas v. Vyas, No.
                                     15        CV1502152RSWLDFMX, 2017 WL 3841809, at *5 (C.D. Cal. Sept.
                                     16        1, 2017).
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                                          DEFENDANT’S RESPONSE TO PLAINTIFFS’ REQUEST FOR EVIDENTIARY RULING
                                           ON SPECIFIED OBJECTIONS TO THE DEPOSITION OF ROGER BERG (DKT. 54-12)
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                                      1   Dated: July 18, 2022                   GORDON REES SCULLY
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                                          DEFENDANT’S RESPONSE TO PLAINTIFFS’ REQUEST FOR EVIDENTIARY RULING
                                           ON SPECIFIED OBJECTIONS TO THE DEPOSITION OF ROGER BERG (DKT. 54-12)
                             Case 5:20-cv-02164-GW-KK Document 56-18 Filed 07/18/22 Page 6 of 6 Page ID #:4439



                                      1                            CERTIFICATE OF SERVICE
                                      2        The undersigned hereby certifies that on July 18, 2022, a true and correct
                                      3   copy of the foregoing was electronically filed with the Clerk of Court using the
                                      4   CM/ECF system, which will automatically send email notification of such filing
                                      5   to all counsel of record, as follows:
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                                          DEFENDANT’S RESPONSE TO PLAINTIFFS’ REQUEST FOR EVIDENTIARY RULING
                                           ON SPECIFIED OBJECTIONS TO THE DEPOSITION OF ROGER BERG (DKT. 54-12)
